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Timothy P. Thornas, Esq.

Nevada Bar No. 5148 .

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Attomeyfor Debtor.s'

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In rec
) Case No: 18-12586-ABL

KENNETH RAY MCMAHAN, ) Chapter 7

)

)
Debtor. ) Date: December 20, 2018

) Tirne: 11:00 a.m.
OPPOSITIO.N TO MOTION TO SELL NON-EXEMPT ASSETS
AND MOTI()N TO EMPLOY AN ()NLlNE AUCTIONEER
KENNETH RAY MCMAHAN, (“Debtor” or “Mc[\/Iahan”), by and through his counsel the
LaW Oflioe of Timothy Thomas (“Thomas Firm”), and oppose the Motion to Sell Non~Exempt
Assets and Ernploy an online auctioneer, (“Motion”). This Opposition is made and based upon
the following points and authorities, the papers and pleadings on file herein, and any argument of

counsel presented at any hearing held in respect to this application

I. STATEMENT OF FACT`

1. On May 3, 2018, Debtor filed his Volunt-ary Petition under Chapter 7 of the U.S.

Banl<ruptcy Code through the Ballstaedt LaW Firm.

 

 

 

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10.

11.

Debtor listed ownership of real property located in Canadian County, State of
Ol<lahoma, Property ID: 060041-001()06-0000A2, Location l 1307-11307-1 103 09
NW 12“1sr PL. (“Property”).

Debtor listed in the schedules that the Property is subject to a secured mortgage
claim of approximately $263,000.

Debtor indicated an interest in repurchasing the Property from the Trustee at the
Meeting of Creditors.

Debtor received his discharge in this case on August 1, 2018. [Dkt. 27].

Debtor has not received further contact from the Trustee on the intent to purchase the
Oklahoma Property.

On November 21, 2018, the Trustee filed the Motion to Sell Non-Exempt Property.
Debtor did not receive notice of the intended sale or motion until he Was notified by
a tenant on the Ol<:lahoma Property on or about December 3, 2018.

Debtor’S counsel, Seth Ballstaedt failed to respond to the Debtor’s inquiries
regarding the motion and the intended sale of the Property.

Trustee proposes to employ an on~line auctioneer to sell the Property. The proposed
sale lists that the Property is being sold subject to the current lien of 3263,000, and
proposing to sell the title and equity to the Property With bids beginning at $7,000. lf
the sale is not successful, the Trustee intends to reduce the price and rerun the sale at
a lower minimum pri-ce.

The auctioneer BKAssets is to be paid a commission of 10% on the gross receipts of
the sale. The proposed costs amount to approximately $600. These costs may be

duplicated in the event of a rerun of the auction sale at a lower price ata future date.

 

 

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12. T he Debtor proposes to repurchase the Property from the Trustee for the amount of
$5,000. This purchase price will not be subject to reduction for commission or

closing costs.

II. STATEMENT OF LAW

A motion to sell non-exempt property under 11 U.S.C. 363(b)(1) requires that the motion
be approved upon proper notice and hearing before the Court. The Trustee must show that the
proposed sale is in the best interest of the estate and the creditors.

7 Tlie Trustee does not include any verification of title to the Property or the liens secured
by the Property. There is not evidence of valuation to show that sufficient equity exists in the
Property to Warrant the sale for more than $5,000 offered by the Debtor. The Trustee does not
acknowledge the interest of the Debtor in purchasing the Property in the Motion.

A property may be of “inconsequential value” to the estate to Warrant abandonment under
ll U.S.C. 5 54. Johnston v. Webster (In re Johnsron), 49 F.3d 538 (9th Cir. 1995). In the event
that the Trustee does not recover the minimum reserve in the auction, the Property should be
deemed abandoned to the Debtor as the equity Will be so insignificant as to be deemed
“inconsequential”.

in the instant case, the procedures of the sale and the proposed sales price include costs
and expenses that are less beneficial to the interests of creditors that the completion of a sale
directly to the Debtor. The proposed auction would include potential costs in excess of $l ,500,
Which Will result in the estate recovering no more than the proposed sale to the Debtor, which
Would avoid such costs. The 10% commission is excessive and beyond the normal market

commission for such a sale.

 

 

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WHEREFORE, Debtor respectfully requests that this Court deny the motion to employ

the on-line auctioneer and to deny the Motion to S

ell Non-exempt assets as not properly noticed

to the Debtor, and not in the best interests of creditors and such other relief as is just in the

circumstances

Dated this 06 day of December, 2018.

Submitted by:

LAW 0 ICE OF T HY P. THOMAS, LLC
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/\_,.___/

Ti\rjfothy P. Clmmds: Esq.
Nevada State Bar No. 5148

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Counsel for Debtor

 

 

 

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that service of the following: OPPOSITION TO MOTION 'l`O SELL
NON-EXEMPT ASSETS AND TO EMPLOY ON~LINE AUCTIONEER Was served On this 06 cf
Decernber, 2018, by:

Electronic service to the ECF service matrix and by depositing a true and correct copy of the
above in a mailbox of the US Post Office, enclosed in a sealed envelope, postage prepaid thereon,
addressed to the following interested parties:

Brian D. Shapiro, Esq.

Chapter 7 Trustee

510 s. 861 sweet
Las Vegas, NV 89101

   
  

Submitted by:

 

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' othy . as, LLC

 

 

